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                                   UNITED STATES DISTRICT COURT
                                    SOUTHERN DISTRICT OF TEXAS
                                         HOUSTON DIVISION

OLDENDORFF CARRIERS GMBH                             §
& CO. KG,                                            §
                  Plaintiff                          §
v.                                                   §      C.A. NO. 4:14-cv-00129
                                                     §      Admiralty- Rule 9(h)
TOTAL PETROCHEMICALS & REFINING                      §
USA, INC., TOTAL SPECIALITIES USA,                   §
INC., PELICAN ISLAND STORAGE                         §
TERMINAL LLC f/kla PELICAN ISLAND                    §
STORAGE TERMINALS, INC. f/kla                        §
GALVESTON TERMINALS, INC. and                        §
BUFFALO MARINE SERVICE, INC.,                        §
                      Defendants.                    §

                                  DECLARATION OF DIANE CULPEPPER

          Diane Culpepper makes the following declaration pursuant to 28 U.S. C. § 1746:


          1.       My name is Diane Culpepper.       I am the Manager, Marine Fuels in the

Marketing & Services group at Total Specialities USA, Inc. I am over the age of twenty-


one years, have never been convicted of a felony, and am fully competent and

authorized to make this declaration.         The statements in this declaration are based on

my personal knowledge.

          1.       Attachment 1 is a copy of the complete Totai-Unipec contract.           The

contract attached to Unipec's motion and the Declaration of Oleg Li is incomplete

because the ExxonMobil terms and conditions are not attached.

         2.        The contract referenced above is a Unipec form, not a Total form.


          3.       The disclaimer of implied warranties in c lause 20, if valid, does not affect


the express warranty that the RMG 380 fuel oil in question will meet ISO 8217:2010

specifications.




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          4.        The i n spe ction referenced in Oleg    declaration is neither identified nor


attached. The limited inspection report of which I am aware is Attachment 2. lt did not

t est for polymers, so it is misleading to state that the "test results d id not show any


contaminants."            Subsequent, more in depth test ing did show presence of those

materials.


          5.        Total never took possession of the fuel oil. It was picked up by the Buffalo

Marine Service barge BUFFALO 301 from a Unipec-leased tank at Pelican Island

Terminal in Galveston,                   and delivered directly to the FLORIANA and the


DEPRANOS.

          6.        Total's investigation concluded that any contaminants in the fuel oil were

present when loaded                     BUFFALO 301, and did not come from the b a rge    .




          I declare under penalty of pe rju ry that the foregoing is true and correct

                                          2014.




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                                               �fi1f��-0irJ           UNIPEC AMERICA, INC.



  DAft                         JANUARY II, 2012

                               DIANE   CULPEPPER/LIZ CONWELL

  ATIN                         CONTRACT DEPARTMENT


  fROM                         UNIPEC AMERICA INC.

  WE ARE PlEASED TO CONFI RM THIS TRANSACTION BETWEEN YOUR COMPANY AND UNlPEC AMERICA INC.
  PLEASE NOTE THAT All CONTRACTUAl CORRESPNDENCES BEWTEEN OUR COMPANIES MUST BE DIRECTED TO
  THE fOLLOWING UN!PEC AMERICA INC HJLlSlYLE AS BELOW. UN!PEC AMERICA INC WILL i'lOf BE HELD
  RESPONSIBLE fOR DELAYS RESULTING fROM CORRESPONDENCE SENTTO ANY O!HER PLACES.


  OUR CONTRACT REI'            : 2013UPUS003l'OS               TRADE DATE: JANUARY 10

  1.   SELLER
       TRADER: MARK VANDEVOORDE
       !JNIPf:C AMERICA, INC.
       4l0 PARll: AVENUE, SUITE 610
       NEW YORK. NY 10022


  2.   BUYER
       TRADER: DIANE CULPEPPER
       TOTAL PETROCHEMICALS&REFINING LJSA,         INC

  3.   PRODUCT
       flJEl OIL   (RMG 380)

  4,   QUANTITY
       10,000-13,000    Bf:lLS, lO% AT BUYER'S OPTION
  5.   QUALITY
       MEETING RMG-380 SPECIFICA!IONS IN ACCORDANCE WITH ISO 8217:20!0

  6,   TITLE TRANSfER LOCATION
       GTI PELICAN ISLAND STORAGE FACiliTY, IN GAlVESTON, TEXAS

  7.   DEliVERY H:RMS
       FOB

  8.   DE LIVER Y METHOD
       BARGE NOMINATED BY          BUYER

  9.   DEliVERY TIMING
       13· 15 DEC 2013

  10. PRICE/PRICING      lOCATlON
  PLATT'S U.S. GULF COAST           WATERBORNE MEAN FOR NO. 6 FUEL Oil 3.0              PCT SULPHUR FLUS U.S.
  DLRS. 2.00 PER BARREL
  ROUNDING CONVENTIONS SHALL BE AS FOLLOWS:
  COMMODITIES PRICING IN BARRELS SHALL BE ROUNDED TO THE NEAREST THIRD DECIMAL PLACE,



                                                          1
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  11. PRICING PERIOD


  JANUARY ll-14, 2013

  12. TITLE ANO R!SI< OF LOSS
  DELIVERY SHALL BE DEEMED COMPLETE AND TITLE AND RISK OF LOSS SHAll f'ASS FROM SELLER TO
  BUYER AS PRODUCT PASSES FROM THE LAST FLANGE C ONNECTING THE. DELIVERING FACILII!ES
  EQUIPMENT TO THE RECEIVING ft\Cll.JTY'S EQUJPMENT OR IN THE CASE OF VESSEL DELIV ERIES AS
  PRODUCT PASSES THE VESSEL'S PERMANENT MANIFOlD FLANGE AT THE LOAD PORT. ANY LOSS OR
  DAMAGE TO PRODUCT DURING LOADING, If CAUSED BY THE VESSEL OR HER OFFICERS OR CREW,
  SHAll BE FOR THE ACCOUNT OF BUYER. ANY LOSS OR DAMAGE TO ANY PROPERTY OF SELLER,
  SELLER'S. SUPPLIER OR TERMINAL OPERATOR, Of� ANY OIL POLLUTION CAUSED BY THE VESSEL OR HER
  OFFICERS OR CREW, SHALL BE ALLOCATED ACCORDING TO FAULT OR ACCORDING TO LIABILITY AS
  IMPOSED BY REGULATION,

  13, PUBLIC DOCK ClAUS!!
  IF THE lOADING PORT/TERMINAL IS A PUBLIC TERMIN AL OR DOCK, OVER WHICH THE BUYER AND
  SELLER HAVE NO CONTROL LAYTIME SHALL NOT COMMENCE UN TIL THE BARGE IS ALL FAST AT THE
  DESIGNATED DOCK

  14. QUANTITY AND QUALITY MEASUReMENT
  QUANTIY TO BE NET BA RRElS    (42 UN I fED STATES GALLOI'ISJ MEASURED AT A TEMPERATURE OF 60
  DEGREES FAHRENHEIT AND AN ABSOLUTE PRESS URE OF 29.92 INCHES OF MERCURY, IH
  ACCORDANCE WITH ASTM D·l250, TABlE 6B, IN ITS LATEST REVISION,

  QUAHTITY FOR INVOICING PURPOSES SHALL BE SHORE TANK DOWN GAUGE MESUREMENT AS
  EVIDENCED BY INDEPENDENT INSPECTOR REPORT, PERFORMED BY MUTUALLY AGREED lNDEPENDENf
  INSPECTOR.

  QUALITY IS TO BE BASED BARGE COMPOSITE SAMPLES AFTER lOADING. AS EVIDENCED BY
  INSPECTION REPORT FROM MUTUALLY AGREED UPON lNDEPDENENf INSPECTOR.

  INSPECTION SHALL BE CARRIED OUT BY A MUTUALLY ACCEPTABlE INDEPENDEf\jT INSPECTION
  COMPANY WHOSE FINDINGS, SAVE FRAUD OR MANIFEST ERROR, SHALL BE FINAL AND BINDING ON
  THE PARTIES. COST OF INSPECTION IS TO BE SHARED EGlUALLY B E TWEEN BUYER AND SElLER. WHEN
  PERMIHED BY FACILITY OPERATOR, BUYER MAY ALSO, AT ITS EXPENSE, APPOINT A I�EPRESENTATIVE
  ro WITNESS QUALITY AND QUANTITY DETERMINAHONS.

  15. PAYMENTURMS
  FINAL P AYMEN T SHAll BE MADE BY BUYER THREE       {3)   BUSI�lESS DAYS AFTER RECEIPT OF SELLERS'
  FINAL INVOICE AND SUPPORTING DOCUMENTATION, VIA WIRE TRAt'lSFER IN fEDERAl FUNDS TO
  SELLER'S BANK.    BUSINESS DAYS ARE DEF INED AS ANY DAY ON WHICH THE FEDERAL RESERVE IS
  OPEN FOR BUSINESS lN NEW YORK, NEW YORK.

  16. CREDIT

  OPEN CREDIT

  17. INSPECTION




                                          2
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  MUTUALLY AGREED INDEPENDENT INSPECTOR. COST TO BE SHARED EQUALLY B ETWEEN BUYER AND
  SELLER. INSPECTORS RESULTS TO m:: FINAl AND BlND!NG. QUAUTY Wlll BE D ETE RM INE D BY BARGE
  COMPOSITE.

  18. SelLERS WARRANTY OF TITLI!
  SELLER'S WARRANTY OF TITLE; SELLER H Ef<EBY EXPRESSLY WARRANTS THAT   IT HAS MARKETABLE TITLE
  FREE AND CLEAR OF ANY UENS OR ENCUMBRANCES TO PRODUCT SOLD AND DELIVERED
  HEREUNDER, AND THAT SELLER HAS FULL RIGHT AND AUTHORITY TO TRANSFER SUCH TITlE AND
  EFFECT DELIV ERY OF SUCH PRODUCT TO BUYER.

  19. LIABILITY
  NEITHER THE SELLER NOR THE BUYER SHALL BE LIABLE FOR CONSEQUENTIAL, INDIRECT OR SPECIAL
  LOSSES OR SPECIAL DAMAGES OF ANY KIND ARISING OUT OF OR iN ANYWAY CONNECTED WITH
  THE PERFORMANCE OF OR FA!LUI�E TO PERFORM THIS CONTRACT. THE SELLER SHALL IN" NO
  CIRCUMSTANCES BE liABLE FOR MORE THAN THE: DI FFERENCE BETWEEN THE CONTRACT PRICE
  THE MARKET PRICE, BASED ON THE NEAREST AVAILABLE MARKET; AT THE DATE OF ANY BREACH
  THE CONTRACT.
  THE TWO PARTY AGREE THAT NEITHER !T NOR ANY OF ITS REPRESENTATIVES, OR AFFILIATES, IN
  CONNECTION WITH THIS CONTRACT AND !HE ACTIVITIES CONTEMPLATED TH EREIN, WILL OFFER,
  PROM IS!: 01� GIVE, DIRECTLY OR INDIRECTLY, ANYTHING OF VALUE TO THE OTHE R PARTY, AFFILIATE
  Of THE OTHER PARTY, THE EMPLOYEE OF THE OTHER PARTY OR ITS AFFILIATE, ANY GOVERN M ENT
  OFFICIAL POLITICAL PARfY OFFICIAL, SO AS TO OBTAIN SUPERFLUITY BENEFIT FROM TH E OTHER
  PARTY. IF ANY PARTY BREAKS THE RULE, IT WIL L PAY FOR LOSS OF THE OTHER PARTY.

  20. WARRANTI!1S
  EXCEPT FOR WARRANTY OF TITLE, NO CONDITIONS OR WARRANTIES, EXPRESS O R IMPLIED, OF
  MERCHANTABiliTY, FITNESS OR SUITABILITY OF THE OIL FOR ANY PARTICULAR PURPOSE OR
  OTHERWISE, Af�E MADE BY SELLER OTHER THAN THAT HiE OIL CQNi0QRMS, WITHIN ANY TOLERANCES
  STATED AND TO THE EXTENT OF REPRODUCIB!UTY AND REPEATABlUTY OF lHE TEST MHHOD USED, TO
  THE DESCRIPTION CONTAINED HEREIN.




  21. TAXES
  THE PRICE PROV IDED HEREIN IS EXCLUSIVE OF ANY GST, DUTIES, FEES, WtTHHOLDit'-IG TAXES ON
  FREIGHT AND ALL OTHER TAXES, GOVERNMENT lEVIES, EXPORT DUTIES, COSTS OR PAYMENTS OF
  WHATSOEVER N ATURE ATTACHING TO THE PRODUCTS AFTER THE PRODUCTS PASSES THE VESSEL'S
  PERMANENT FLAI'lGE CON NECTION AT LOADING PORT AND AT DISCHARGI�lG PORT AND,
  INCLUDING INTEREST AND PENAlTIES LEVIED AS A CONSEQUENCE Of NON-PAYMENT OF ANY OF
  THE FOREGOING AND ALL OTHER CHARGES ON THE CARGOES, OR ITS ASSIGNEE, ALL OF WHICH
  AI<E FOR THE ACCOUNT OF AND SHALL BE PA ID BY THE BUYER.


  22. FORCE MAJEURE
  IF BY REASON OF "FORCE MAJEURE" EITHER PARTY HERETO IS DELA YEO OR HINDE RED OR
  PREVENTED FROM COMPLYING WITH ITS OBLIGATIONS UNDER THIS CONTRACT OTHER THAN
  OBUGAHONS TO MAKE PAYMENT AND PROVISIONS OF SECURITY, THE AFFECTED PARTY WILL
  IMMEDIATELY GIVE NOTICE TO THE OTHER WITHIN FORTY EIGHT {48) HOURS AFTER RECEMNG
  NOTICE THEREOF STATING: THE NATURE OF THE "FORCE MAJEURE" EVE�lT, ITS EFFEC...i ON THE

                                           3
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  OBliGATIONS OF THE PARTY GIVING THE f\IOT!CI:, AND THE t:SIIMATED DATE THE CONTINGENCY IS
  EXPECTED TO BE REMOVED. TO THE EXTENT THAT THE AFFF.CTED PARTY IS OR HAS BEEN DElAYEO OR
  HINDERED OR PREVENTED BY A "FORCE MAJEURE" EVENT FROM COMPlYING WITH ITS
  OBLIGATIONS UNDER THIS CONTRACT, THE AFFECTED PARTY MAY SUSPEND THE PEHFORMANCE OF
  ITS OBliGATIONS UNTil THE CONTINGENCY IS REMOVED.

  IF T HE "FORCE MAJEU R E" EVENT CANNOT BE RECTIFIED OR CU RED WITH THIRTY (30) DAYS, OR A
  "FORCE MAJEURE" EVENT RESULTS IN A DElAY EXTENDING BEYOND THIRTY {30) DAYS, EITHER PARTY
  MAY TERMINATE THI S CONTRACT UPON WRITTEN NOTICE AND BOTH PARTIES WILL BE RELIEVED OF
  THE IR FURTHER CONTRACTUAL OFIUGATIONS, EXCEPT FOR T HEIR ACCRUED RIGHTS AND
  OBLIGATIONS WHICH SHALl SURV I V E THE n:RMINATION OF THIS CONTRACT IN ACCORDANCE WITH
  THIS PROVISION. NOTWITHSTANDING THIS CLAUSE, NEITHER PARTY SHALL BE RELIEVED OF MAKI�lG
  PAYMENT IN FULL AND IN ACCORDANCE WITH THIS CONTRACT OF ANY SUMS THAT HAVE
  ACCRUED DUE UNDER THIS CONTRACT PRIOR TO ITS TERMINATION INC L UDING BUT NOT UMITED TO
  THE PRICE AND DEMURRAGE.

  FOR THE PURPOSE OF THIS CLAUSE, "FORCE M AJEURE " MEANS AN EVENT OR OCCURRENCE OR
  C I RCUMSTA NCE BEYOND THE REASONABI E CONTROL OF T HE AFFECTED PARTY, lf\lCUJDING BUT
  WITHOUT PREJUDICE TO THE GENERALITY OF THE FOREGOING, FAILURE OR DELAY CAUSED HY
  OR RESULTING FROM ANY CURTAILMENT, FAILURE OR C ESSATI ON OF SUPPLIES OF THE OIL FROM
  ANY O F THE SELLER'S OR S U PPLIER S' SOURCES OF SUPPLY OR ANY REFUSAL TO SUPPLY OIL !WHETHER
  LAWFUL OR OTHER WISE BY SELlER'S SUPPLIER (Sj AND WHET HER OR NOT fOR THE PURPOSE OF THIS
  CONTRACT), ACTS OF GOOf FIRE S, WAHS {WHETHER DECLARED OR UNDECLARED), BlOCKADES,
  INSURRECTIONS, RIOTS, SABOTAGE, ACT OF PUBLIC ENEMIES, EPIDEMICS, DESTRUCTION OF THE
  PRODUCT, PERILS OF THE SEA� EARTHQUAKES, FLOODS, ICE CONDITION, STRIKES, LOCKOUTS 01�
  OTHER LABOUR DISRUPTIONS, ACCIDENTS, EXPLOSIONS, BREAKDOWNS OR FAILURE OF WEllS, PIPE,
  STORAGE TANKS, REFINERY FACILITIES, PLANT, MACHINERY OR EQUIPMENT, OFFICIAl
  EMBARGOES,ACTIONS OR RESTRICTIONS IMPOSED BY ANY GOVERNMENT AUTHORITY OR PERSON
  PURPORTING TO ACT THEREFOR            ALLOCATIONS, PRIORITIES, REQUISlnONS, QUOTAS
  AND PRICE            OR          CAUSE NOT REASONABLY WITHIN THE CO�!TROl OF THE
  RESPECTIVE PARTIES. THE AVOIDANCE OF DOUBT, A LACK OF FUNDS, THE AVAILABILITY Of A
  MORE ATTRACTIVE MARKET, OR INEFfiCIENCIES IN OPERATIONS DO NOr CONSrHUTE EVENTS OF
  "FORCE MAJEURE".

  23, GOVERNING lAWS AND AR!i!TRATION
  THIS AGREEMENT SHALL BE GOVERNED OY AND CONSTRUED IN ACCORDANCE WITH THE LAWS OF
  IHESTATE NEW YORK WITHOUT REFERENCE TO ITS LAW ON CONFLICTS AND THE PARTIES HEREBY
  SUBMIT TO THE NONEXCLUSIVE JURISDICTION OF THE NEW YORK C OUR TS SITUATED IN NEW
  ClTY, BOROU GH Of MANHATTAN,        TO SERVICE OF PROCES S BY CERTIFIED MAIL,


  THE PA RTI ES WILL ATTEMPT IN GOOD FAITH TO RESOLVE ANY CONTROVERSY OR CLAIM ARISING OUT
  OF OR !<ELATING TO THIS CONTRACT PROMPTLY BY NEGOTlAT!ONS. IF A CONTROVERSY OR ClAIM
  SHOULD A R ISE, THE REPRESENTATIVES OF THE PARTIES WHO NEGOTIATED THE SAME,OR THEIR
  RESPECTIVE SUCCESSORS ("PRINCIPAL CONTACTS") , Wilt MER AT LEAST ONCE AND WILL ATTEMPT
  TO RESOLVE THE MATTER, EITHER PRINCIPAL CONTACT MAY REQUEST THAT THE OTHER MEET WITHIN
  14 DAYS , AT A MUTUAllY AGREED TIME. If THE MAHER HAS N OT BEEN RESOLVED WITHIN 20 DAYS
  OF THEIR FIRST MEETlNG, THE PRINCIPAL CONTACTS SHAll REfER THE MAHER TO SENIOR EXECUTIVES
  OF THEIR RESPECTIVE C O MPAN IES WHO SHALL HAVE AUTHORITY TO SETTLE THE DISPUTE (HEREIN
  CALLE D 'THE SENIOR EXECUTIVES"). THEREUPON, THE PRINCIPAL CONTACTS SHALL PROMPTLY
  PREPARE AND EXCHANGE MEMORANDA STATING THE ISSUES IN DISPUTE AND THEIR POSITlONS,
                                                 4
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  SUMMARIZING T HE NEGOTIATIONS WHICH HAVE TAKEN PlACE, AND ATTACHING RELEVANT
  DOCUMENTS. THE SENIOR EXECUTIVES Will MEET FOR NEGOTIATIONS WITHIN 14 DAYS OF THE END
  OF THE 21.0AY PERIOD REFERRED TO ABOVE, AT A MUTUALlY AGREED TIME. THE FIRST MEETING
  SHAll BE HELD AT THE OFFICES OF THE PRINCIPAL CONTACT RECEIVING THE REQUEST TO MEET. IF
  MORE THAN ONE MEETING IS HELD. THE MEETI NGS SHALL BE HELD IN ROTATION AT THE OFFiCES OF
  EACH COMPANY. IF THE M ATTER HAS NOT BEEN RESOlVED WI THI N 30 DAYS OF THE MEETING OF THE
  SENIOR EXECUTIVES (W HIC H PERIOD MAY BE EXTENDED BY MUTUAL AGREEMENT), THE PARTIES Will
  ATTEMPT IN GOOD FA I TH TO RESOlVE THE CONTROVERSY OR CLAIM IN ACCORDANCE WITH THE
  CENfER FOR PUBLIC RESOURCf,S MODEL PROCEDURE FOR MEDIATION OF BUSINESS DISPUTES.
  IF THE M ATTER HAS NOTBEEN RESOLVED PURSUANT ro THE AFORESAID MEDIATION PROCEDURE
  WITHIN 60   DAYS OF THE COMMENCEMENT OF SUCH PROCEDURE                  PERIOD MAY BE
  EXfENDED BY MUTUAL               THE CONTROVERSY SHALL BE            I'IY BiNDING FlNAl
  ARI'IITRAT!ON IN ACCORDANCE WITH THE CENTER fOR PUBliC RESOURCES f?U LES fOR NON­
  ADMINISTERED ARBHRATION OF BUSINESS DISPUTES, BY A SOLE ARBITRATOR; THE ARBITRATION
  SUPERCEDES SHAlL BE GOV ER NED BY THE UNITED STATES ARBITRAHON t\CT, 9 U.S,C. 1-16, AND
  JUDGMENT UPON THE AWARD RENDERED BY THE ARBITRATOR(S) MAY BE ENTERED BY ANY COURT
  HAVI NG JUf�ISDICTION TH EREOF. THE PLACE OF ARBITRATION SHAll BE NEW YORK ClTY, NEW YORK


  24. TIHRD PARTY RIGHTS
  NOTHING IN rHIS AGREEMENT SHALl BE CONSIDERED OR CONSTRUED AS CONFERRING ANY RIGHT
  OR BENEFIT ON A PERSON NOT A PARTY TO THIS A GREEMENT AND THE PARTIES DO NOT I NTEN D THAT
  ANY TERM OF THIS AGREEMENT SHOULD BE EHFORCEABLE, BY VIRTUE OF THE CONTRACTS ( RIGHTS
  OF THIRD PARTIES) ACT 1999, BY ANY PERSON WHO IS NOT A PARTY TO THIS AGREEMENT.

  25, ASSIGNI!McNT
  WITHOUT T HE PRIOR WRITTEN CONSENT OF THE OTHER PARTY. WHICH CONSENT SHALL NOT BE
  UNREASONABLY WITHHElD, NEITHER PARTY MAY ASSIGN ITS RIGHTS OR OBUGATIONS UNDER THIS
  CONTRACT IN FULL OR IN PART, EXCEPT FOR AN ASSIGNMENT BY SELLER FOR FIHANCING PURPOSES
  OF RIGHTS IN RES PECT OF THE WHOLE OR PART OF THE PROC EED S OF SALE UND ER THE CONTRACT
  OR AN ASSIGNMENT BY SELLER TO AN AFFILIATE OR f<ELATED CORPORATION. ANY SUCH
  ASSIGNMENT Will NOT DETRACT FROM SELLER'S OBUGATIOHS UNDER THIS CONTRACt



  26. !SPS COMPliANCE
  I) 13UYERS SHALL PROCURE THAT THE VESSEL SHALL COMPLY WITH THE REQUIREMENTS OF THE
  INTERNATIONAL SHIP AND PORT FACILITY SECURITY CODE AND THE RELEVANT AMENDMENTS TO
  CHAPTER XI OF SOLAS {lSPS       AND WHERE THE L OA DING PORT IS WITHIN THE: USA AND US
  TERRITORIES OR WATERS, WITH THE MAR!IIME TRANSPORTATION SECURITY ACT 2002 {MTSA).


  ll)
    THE VESS El SHALl W HEN REQUIRED SUBMIT A DECLARATION OF SECURITY           (DOS) TO THE
  APPROPRIATE AUTHORITIES PRIOR TO ARRIVAL AT THE LOADING PORT.
  Ill) NOTWITHSTANDING ANY PRIOR ACCEPTANCE Or' VESSEl BY SELLER, IF AT ANY TiME PRIOR TO THE
  PASSIHG Of RISK AND TITLE THE V ESSE L CEASES TO COMPLY WI TH THE REQUIREMENTS OF THE !SPS
  CODE OR MTSA:
  A) SELlERSHALL HAVE THE RIGHI NOT TO BERTH SUCH NOMINATED VESSEL AND ANY DEMURRAGE
  RESULTING SHALL NOT BE FOR THE ACCOUNT OF THE SELLER.
  B) BUY ER SHALL BE OBLIGED TO SUBSTITUTE SUCH NOMINATED VESSEL WITH   A   VESSEL COMPLYING
  WITH THE REQUIREMENTS OF THE ISPS C ODE AND MTSA.

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   IV)
   AJ SELLERS SHALl PROCURE THAT THE LOADING PORT/TERMINAL! INSTALLATION SHALL COMPLY
   WITH THE REQUIREM ENTS OF THE I NTERN ATION A L SHIP AND PORT FACIUTY SEC URITY CODE AND
   THE RELEVANT AMENDMENTS TO CHAPTER XI OF SOlAS ( !SPS CODE) AN D IF LOCATED WITHIN THE
   USA AND US TERRITORIES; WITH THE US MARITIME TRANSPORTATION SECURITY ACT 2002 {MTSA)
   B} ANY COSTS OR EXPEN SES IN RESPECT OF TH E VESSEL INCLUDING DEMURRAGE OR ANY
   ADDITIONAl CHARGE, FEE OR DUTY LEVIED ON THE VESSEl AT THE LOADING PORT AND ACTUALLY
   INCURRED BY BUYER RESULTING DIRECTLY FROM THE FAILURE OF THE LOADING PORT/
   TERMINAL/INSTALLATION TO COMPLY Wln1 THE ISPS CODE AI'-ID IF lOCATED WITHIN THE USA AND US
   TERRITORIES, WITH THE MTSA, SHALL BE FOR THE ACCOUNT OF THE SELLER, INCLUDING BUT NOT
   LIMITED TO THE TIME REQUIRED OR COSTS I N CURRED BY THE VESSEL IN TAKING ANY ACTION OR ANY
   SPECIAL OR ADDITIONAL SECURITY MEASURES REQUIRED BY THE ISPS CODE OR MTSA
   V) SAVE WHERE THE         VESSEL HAS   FAILED TO COMPlY WiTH THE REQUIREMENTS OF THE
   INTERNATIONAL SHIP AND PORT FACILITY SEC U RITY CODE AND THE R EL EVANT AMENDMENTS TO
   CHAPTER XI OF SOLAS (ISPS     AND WITHIN THE USA AND US TERRITORIES OR WATERS, WITH THE
   US MARITIME TRANSPORTAltON          ACT 2002 (MTSAJ, THE SEllER SHALL BE RESPONSIBLE f'OR
   ANY DEMURRAGE ACTUALLY INCURRED BY THE BUYER ARISING FROM DELAY TO THE VESSEL AT THE
   LOADING PORT     RESULTING DIRECTlY FROM THE VESSEL BEING
                                                        REQUIRED BY THE PORT FACILITY OR
   ANY RELEVANT AUTHORITY      TO TAKE ANY ACTION OR ANYSPECIAL OR ADD!T!ONAL SECURITY
   MEASURES OR UNDERGO ADDITIONAL INSPECTIONS BY VIRTUE OF THE VESSEL'S PRE VIOUS PORTS OF
   CALL
   Vl) THE SELLER'S LJABIUTY TO THE BUYER UNDER THIS CONTRACT FOR ANY COSTS, LOSSES OR
   EXPENSES I NCURRED BY THE VESSEL THE CHARTERERS OR THE VESSELOWNERS RESULTING FROM THE
   FAILURE OF THE LOADING PORT I TERMINAl/INSTAllATION TO COMPLY WITH THE iSPS CODE OR
   MTSA SHALL BE LIMITED TO THE PAYMENT OF DEMURRAGE AND COSTS ACTUALLY INCURRED BY THE
   BUYER IN ACCORDANCE WITH THE PROVISIONS OF THIS CLAUSE.


   27. OTHER TERMS AND CONDITIONS
   ALL OTHER TERMS AND CONDITIONS WHERE NOT IN CONFUCr WITH THE ABOVE, SHAll BE AS PER
   F:XXONMOBfL GENERAL TERMS AND CONDITIONS.


   2:8. MARIN!! PROVISIONS
   ALL MARINE PROVISIONS WHERE NOT IN CONFUCI WITH THE ABOVE SHAll BE AS PER EXXONMOBIL
   MARINE PROVISIONS.

   THIS DEAL IS TO BE KEPT PRIV ArE AND CONFIDENTIAL.

   THIS AGREEMENT CONTAINS THE EN T I RE AGREEMENT OF THE PA RTI ES AND THERE ARE NO ORAL
   PROMISES, REPRESENTATIONS OR WARRANTIES AfFECTING IT.



   UNIPEC CONTACTS FOR THIS CONTRACT SHALL BE AS FOLLOWS



   COMMERCIAl CONTACT:
   PIC            : MARK VANDEVOORDE
   DID            : + 1 646.454.5221

                                           6
          Add: 410 Park Avenue, 6th Floor, Suita 610, New York, NY 10022 USA
                     Tol: +1 212 759 5085    Fax: +1 212 991 5609
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                  �1:i1f.�mi:tf�*iiJ                  UNIPEC AMERICA, INC.



  EMAIL           : MARKV@UNIPECAM,CQM


  OPERATIONS CONfACT:
  PIC          ; ADA LI/ROGER LUO
  DID          : + l 646 454 5?33/34
  MB           :+I 646 770 6533/+l 646 651 8818
  EMAIL        : OPSPRODIJCTS@UNIPECAM.CQM



  FINANCIAL CONTACTS:
  PIC          :MICHAEL LAW
  TEl          : + 1-212-759-5085 exL337
  EMAil        : FINANCE@UN!PECAM.COM

  DEMURRAGE CONTACT:
  PIC         : ADA U /ROGER LUO
  TEL         :+16464545233/+1646651 8S1B
  EMAIL       : OPSPRODUCTS@UNIPECAM.COM




  BEST REGARDS,


  UNIPEC   AMERICA INC.




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                              EXXONMOBIL SALES AND SUPPLY CORPORATION
                                     GENERAL TERMS AND CONDITIONS
        :FOR FOB PURCHASES AND SALES OF PETROLEUM PRODUCT IN BULK IN VESSELS


I ntroduction


These General Tenus are designed for use in transactions in which ExxonMobH Sales and Supply Corporation or any
of its Affiliates is either the Seller or the B uyer of Product in bulk in vessels on a FOB basis. These General Tetms
shall be appended to or incorporated by reference in the Special Terms. To the extent that these General Terms
contradict the Special Tenus or are inconsistent with them, the Special Tenus shall prevail. References herein to the
"Contract" shall mean the Special Tenus and these General Tetms.

Article 1   -   Definitions


As used herein the f-ollowing terms shall have the meanings respectively assigned to them:

(a)     "Accepted Date Range" means a period specified within the Special Terms within which the vessel shall
        tender Notice of Readiness (or NOR) at a Loading Port, as accepted, agreed, or established pursuant to Article
        7(f).

(b)     "Affiliate" means any company, partnership, j oint venture, or entity controlled by, controlling or under
        common control with a Party hereto. For the purposes of this definition, "control" means the direct or indirect
        beneficial ownership of fifty percent (50%) or more of the stock entitled to vote in the election of directors or,
        if there is no s uch stock, fifty percent (50%) or more of the owners' interest in such company, partnership,
        joint venture, or entity.

(c)     "Dollar" means the currency of the United States of America.

(d)     "FOB" means Product delivered Free On Board, as defined in the latest edition ofincotenns.

(e)     "LIBOR" means, as of any date of determination, the three (3) month London Interbank Offered rate for
        Dollars, determined at 1 1 :00 a.m., London time, on the first day of the calendar quarter in which the date of
        determination occurs (or, if the flrst day of such calendar quat1er is not a London Banking Day, the
        immediately preceding London Banking Day), as such rate is published by the British B ankers Association.
        If the B ritish B ankers Association ceases to publish the three (3) month London Interbank Offered rate tor
        Dollars, the Parties shall designate an alternative mechanism consistent with Eurodollar market practices
        for determining such rate. For purposes of this detlnition, a "London Banking Day" is a day on which
        dealings in deposits in Dollars are transacted on the London Interbank market.

(f)     "Loading Pot1" means any berth, dock, anchorage, sea terminal, submarine line, alongside vessel and/or
        lighter, whether at anchor or underway, and/or any other place at which Product is to be loaded for shipment,
        agreed to by the Parties.

(g)     "Loading Terminal" means the delivery fa.cilities tor Product at a Loading Pot1.

(h)     "Party" means either the Buyer or the Seller, and j ointly they may be referred to herein as the "Parties".

(i)     "P&I Club" means the applicable Protection and Indemnity Club.

G)      "Product" means the petroleum product described in the Special Terms for sale and purchase hereunder.

(k)     "Special Terms" means the additional terms and any amendments to these General Tenns as mutually agreed
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        by the Parties.


(I)     "Terminal Procedures" means all procedures established or customarily practiced by the operator of a
        Loading Terminal with respect to notifications, nominations, berthing, scheduling, vessel acceptance,
        documentation, depatture, measurement, and other health, safety, environmental and operational matters.


A rticle 2 - Quality and Disclaimer of Warranties


The quality of each grade of Product, except as otherwise provided in the Special Tenns, shall be the export
quality of that grade being made available by the Seller at the time of loading of the Product at the Loading
Terminal. THERE ARE NO GUARANTEES OR WARRANTIES, EXPRESS OR IMPLIED, WITH
RESPECT TO THE DESCRIPTION OR SATISFACTORY QUALITY OF THE PRODUCT,
FITNESS OR SUITABILITY OF THE PRODUCT FOR ANY PARTICULAR PURPOSE OR
OTHERWISE, THAT EXTEND BEYOND THE DESCRIPTION AND SPECIFICATIONS OF THE
PRODUCT CONTAINED IN THE SPECIAL TERMS.


Article 3 -Verification and Measurement


(a)   Su�ject to the provisions of this A1ticle 3, the determination of the quantity and quality of each shipment of
      Product shall be at the Loading Tenninal.      Where Tetminal Procedures pennit, the standards and practices
      governing these determinations, as specified in Appendix I, shall be used, failing which, the determination of
      the quantity and quality of each shipment of Product shall be in accordance with Terminal Procedures.



(b)   The Parties shall appoint a mutually-acceptable,     recognized, independent petroleum inspector ("Inspector"),
      who will be permitted access to the facilities where quantity and quality are to be determined, to measure, test,
      or witness and ce1tizy the quantity and quality of Product in accordance with Appendix 1 and consistent with
      Tetminal Procedures.


                 (I)      The Buyer and the Seller shall equally share all reasonable charges rendered by the Inspector.


                 (2)      On completion of verification and measurement of the Product, the Seller shall instruct the
                          Inspector to (i) prepare and sign cettificates stating the quantity and quality determined for
                          the Product, (ii) furnish the Buyer and the Seller each with a copy of such certificates, and
                          (iii) expeditiously advise in writing to the Buyer and the Seller the detennined quantity and
                          quality. The data in the cettificates of quantity and quality shall, absent fl·aud ot· manifest
                          error, be used for the invoice and the Bill of Lading, subject to the Seller or the Buyer
                          reserving the right to bring a claim in respect of quantity and/or quality in accordance with
                          procedures described in Atticle 3(d).


                 (3)      If an Inspector fails to appear or is unable to perform his duties, delivety of Product shall
                          proceed and the Seller shall instruct the Loading Terminal to petfonn the duties described in
                          Article 3(b) and 3(e). The L oading Tenninal shall issue certificates subject to the Seller or
                          the Buyer reserving the right to bring a claim in respect of quantity and/or quality in
                          accordance with procedures described i n Alticle 3(d).


(c)   n: no later than fifteen (15) days after the Bill of Lading Date, Seller requests a Certificate of Discharge for
      the Product purchased under this Contract, the Buyer shall provide the Seller with such Certificate.          The
      Cmiiticate of Discharge shall be prepared on headed stationery by the vessel's agents at the discharge port
      and attested by an official seal and signature of the customs authorities or local Chamber of Commerce. The
      Certificate shall reach the Seller within four (4 ) months of the Bill of Lading date. The Certificate should
      include the names of the Loading and Discharge Potts, the dates of loading and discharge, the grades and
      volumes involved, the vessel name, details of lightering or ship-to-ship transfer if applicable, and the names
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      of both the agents at the Discharge Pmt and the consignee. In the event that any specific detail is not
      available, the Buyer shall provide separate advice to cover such omission.

(d)   Any claim by the Buyer regarding the quantity or quality of Product shall be deemed waived unless a notice of
      the existence of a potential claim is made in writing to the Seller no later than sixty (60) days following the Bill
      of Lading date. All of the Buyer's supporting documents must be fmwarded to the Seller within sixty (60) days
      of the notice of claim, or such claim shall be deemed waived.

(c)   Jf the quality claim is made within the required time bar, then both parties will mutually agree on an
      independent inspector and lab to test retained load pott samples. Any such testing of retained samples for the
      purpose of establishing conformity with specification must be performed according to protocols set fmth in
      ASTM D3244. The results of such test will be the final detennination of the quality and be final and binding on
      both Parties.

Article 4   -   Title and Risk


Delivery shall be deemed completed and title and risk shall pass at the Loading Terminal as the Product passes the
flange connection between the delivery hose and the intake manifold of the Buyer's vessel, at which point the Seller's
responsibility shall cease and the Buyer shall assume all risk of loss, damage, deterioration, or evaporation as to
Product so delivered. It is expressly understood that the passage of title and risk is not conditional on delivery of Bills
of Lading.

Any loss of or damage to the Product or to any prope1ty of the Seller or terminal operator and the consequences of
oil pollution of sea water before, during or after loading, that is caused through the fault of the Buyer's vessel, as
between the Parties hereto, shall be for the Buyer's account.

Article 5- Payment


(a)    The Buyer shall pay for each delivety of Product at the price set out in the Special Terms, without deduction,
       discount, set otT or counter claim. Payment shall be made by bank wire transfer in immediately available Dollar
       funds to a bank account designated by the Seller. Payment is due not later than thirty (3 0) days fi·om the date of
       the Bill of Lading of each shipment, with the Bill of Lading date being "day zero". If the payment due date is
       on a Saturday or New York bank holiday other than a Monday, payment shall be due on the preceding New
       York banking day. If the payment due date is on a Sunday or a Monday New York bank holiday, payment shall
       be due on the next succeeding New York banking day.

       Payment for the Product on the basis of quantity and quality determined under Atticle 3 shall be made in full
       against presentation of a commercial invoice and full set of clean original Bills of Lading or the Seller's letter of
       indemnity. The Seller shall deliver the commercial invoice and full set of clean, original Bills of Lading (or the
       Seller's letter of indemnity in a form acceptable to Buyer in lieu of Bills of Lading) to the Buyer at least three
       (3) business days before the payment falls due.

                    (l)   Invoices may be provided by facsimile, or other non-electronic written communication.

                    (2)   The Buyer may not delay payment because of the Seller's failure or delay to tender to the
                          Buyer, or its designee, Bills of Lading or other shipping documentation required in the Special
                          Terms. In the absence of Bills of Lading or any such other required documentation, the Seller
                          shall provide the Buyer with Seller's written Letter of Indemnity (via telex, facsimile, electronic
                          mail or other written communication). This indemnity shall remain in effect until the shmter of
                          thirty-six (36) months or such time as the Bills of Lading or such other required documentation
                          are presented to the Buyer.

(b)    If the Buyer fails to make payment when due, the Seller shaH have the right to charge interest on any amount
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      overdue at a rate equal to LIBOR plus two percent           (2%)   per annum, but no higher than the maximum rate
      which may legally be imposed in the circumstances and in the relevant period. This interest shall be calculated
      on the basis of a three hundred sixty (360) day year.


(c)   If tl1e Seller, in its reasonable opinion, determines that the financial responsibility of the Buyer or its guarantor
      (if applicable) has become impaired, or that financial assurances are necessary, then the Seller may requ ire:


                (1)       cash payment i n advance; or


                (2)       security in a form and amount acceptable to the Seller, including a standby letter of credit
                          issued by a bank acceptable to the Seller;


      Failure by the Buyer to provide security within the time frame specified in the Seller's notice requesting
      financial assurances shall be grounds for the Seller to terminate this Contract with immediate effect on written
      notice to the Buyer or suspend delive1y (immediately upon written notice) until acceptable financial assurances
      are put in place.     All liabilities, costs and expenses incurred by reason of the Seller's request for acceptable
      financial assurances in accordance with this Atticle shall be solely for the BuyetJs account.


Article 6 - Taxes, Duties and Imposts


(a)   Seller shall be liable for all taxes, duties and other such charges applicable to the Product sold hereunder
      upstream of the delivety point. Subject to Atticle 6(b) the Buyer shall be l iable for all taxes, duties and other
      such charges applicable to the sale and/or delivery of Product hereunder at or downstream of the delivery point
      including dues and other charges on the vessel and any taxes on freight. The delivety point shall be as provided
      for in Alticle 4.


(b)   The Seller shall be the exporter of record and shall be responsible for obtaining all export permits or similar
      approvals required for the exp011 of the Product fl·om the country of the Loading Terminal, and for any expott
      duties or customs fees in connection therewith.


A rticle 7 - Delivery and Nomination


(a)   Delivery of Product shall be made FOB by the Seller to the Buyer in bulk into vessel(s) arranged by the Buyer.


(b)   The vessel(s) nominated by the Buyer to take delivCiy of the Product shall be subject to the Seller's prior written
      approval. Upon the Buyer's nomination, Seller shall submit the nomination for the Loading Terminal's
      acceptance and conununicate the Loading Terminal's acceptance or rejection of the nominated vessel to the
      Buyer. With respect to any vessel nominated by Buyer to take delivety of Product under this Agreement Buyer
      makes the following representations and warranties:


                 (1 )     The owners of the vessel used to take delivery of such Product shall have a policy on Drug
                          and Alcohol Abuse ("Policy") applicable to the vessel which meets or exceeds the standards
                          in the Oil Companies International Marine Forum Guidelines for the Control of Drugs and
                          Alcohol Onboard Ship.      U n der the Policy, alcohol impainnent shall be defined as a blood
                          alcohol content of 40 mg/1 00 ml or greater; the appropriate seafarers to be tested shall be all
                          vessel officers and the drug/alcohol testing and screening shall include u nannounced testing
                          in addition to routine medical examinations.       An objective of the Policy must be that the
                          frequency of the unannounced testing he adequate to act as an effective abuse deterrent, and
                          that all officers be tested at least once a year through a combined program of unannounced
                          testing and routine medical examinations. The Buyer fmther warrants that the Policy will
                          remain in effect during the term of this Contract and that the Buyer shall exercise due
                          diligence to ensure that the Policy is complied with.          It is understood that an actual
                          impairment or any test finding of impairment shall not in and of itself mean the Buyer has
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                       failed to exercise due diligence. Upon Seller's request, Buyer shall provide Seller with a
                       copy of the Policy applicable to the vessel. Absence of a Policy, or failure to deliver a copy
                       of the Policy within a reasonable time after Seller's request is grounds for Seller to reject or
                       withdraw acceptance ofthe vesseL

                (2)    The vessel used to take delivety of such Product shall have ful l and valid protection and
                       indemnity insurance ("P&I insurance") placed with a P&I Club which is a member of the
                       International Group of P&I Clubs. The P&I insurance must include full coverage against
                       liability for cargo loss and/or damage and coverage against pollution liab i l ity for the
                       maximum scope and amount available under the Rules of the relevant P&l Club.

                (3 )   The vessel shall be owned by or demise chartered to a member of the Intemational
                       Tanker Owners Pollution Federation ("ITOPF").

                (4 )   The vessel shall be fully compliant with the International Safety Management ("ISM")
                       code and the B uyer, if requested, shall provide the Seller with a copy of the appropriate
                       ISM documentation.

                (5)    The vessel shall have on board all certificates of financial responsibility in respect of oil
                       pollution necessary for the required voyage, including but not limited to (i) the certificate
                       of insurance required under the International Convention on Civil Liability for Oil
                       Pollution Damage, and (ii) certificates of financial responsibility meeting the requirements
                       of United States federal and/or relevant state authorities.

                (6)    In the event that the International Ship and Port Facility Security (ISPS) Code and/or the
                       US Maritime Transportation Security Act of 2002 (either collectively or individually
                       referred to as the "Security Regulations") are in effect at the Loading P01t, the vessel shall
                       be in full compliance with the applicable Security Regulations in effect at the Loading
                       P01t. Any costs arising from delays in loading the vessel that are attributable to vessel's
                       failure to comply with Buyer's warranty, as set forth herein, shall be for the account of the
                       Buyer.

(c)   If a vessel nominated by the B uyer is rejected by the Seller, the Buyer shall promptly nominate another vessel
      to the Seller suqject to the terms of this Article 7.

(d)   The Seller shaH exercise due diligence to provide, or cause to be provided, free of charge, a be1th or betths
      which the vessel can safely reach and leave and at which she can lie and load safely afloat. Notwithstanding
      anything contained in this or any other Article i n this Contract to the contrary, the Seller shall not be deemed to
      wauant the safety of any such berth or betths and shall not be liable for any loss, damage, injmy or delay
      resulting limn any unsafe condition of such berth or berths which could have been avoided by the exercise of
      reasonable care on the part of the Buyer. The Buyer shall be fi·ee of charges for the use of any wharf: dock,
      place or mooring facility arranged by the Seller for the purpose of loading Product; however, the B uyer shall be
      responsible for charges tor such berth when used solely for vessel's purposes.

(e)   The Seller shall furnish, upon the B uyer's request, all readily available information concerning resh·ictions at the
      Loading Terminal with respect to maximum draft, length, deadweight, displacement, age, flag, and the like,
      Tenninal Procedures relevant to vessel operations, and special or non-customary requirements of govemmental
      authorities at the Loading Pmt. The Buyer shall in any event and in all circumstances be deemed to be fully
      familiar with such restrictions, Terminal Procedures, and requirements. The Buyer shall not nominate or
      provide a vessel which does not conform to the Loading Terminal restrictions, Terminal Procedures and
      requirements. The Buyer acknowledges that Tetminal Procedures and regulations of governmental authorities
      with jurisdiction over the Loading Port apply to the loading and receipt of the Product and to the B uyer's vessels
      thereat. If the B uyer's vessel does not conform to the Terminal Procedures, or to the requirements or
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      regulations of governmental authorities or the Seller's reasonable standards on safety, size, age of the vessel,
      crewing, and operations, the Seller may refuse to betih or load the vessel, and any delays or expenses of the
      Seller and the Buyer due to such non-conformance (whether the Seller so refuses or proceeds with berthing or
      loading) shall be for the Buyer's account.

      Despite any prior acceptance, the Seller shall have the right to reject the vessel nomination at any time after
      the Seller's initial acceptance if receipt of legitimate information demonstrable to a court o f competent
      jurisdiction results in the vessel no longer conforming to reasonable standards on safety, environmental
      protection, size, navigation, crewing, and operations, provided such vessel rejection is not assetted for the
      purpose of commercial gain.

(f)   Accepted Date Range and vessel nomination procedures shall be promptly established to conform with Loading
      Terminal Procedures, as follows:

                (l)   The Buyer shall propose t o the Sellet· date range(s) for tendering NOR (as defined in Article
                      8(b)) and shall also specify the approximate amount of Product to be loaded (subject to a
                      variation of plus or minus five percent (+/-5%) at the Buyer's option) and the name of the
                      vessel (or that it is a "to be named" vessel ("TBN")).

                (2)   If the Seller accepts the Buyer's proposed date range(s), they shall become the Accepted Date
                      Range(s). If the Seller rt:iects the Buyer's proposed date ranges, the Seller shall propose the
                      minimum modifications to the Buyer's requests required to accommodate the Seller's or the
                      Seller's supplier's and the Loading Tenninal's schedules. The Parties shall consult to agree on
                      a muh1ally acceptable schedule of loadings and Accepted Date Range(s).

                (3)   If the Parties fail to agree, the Seller shall be entitled (using its reasonable discretion) to
                       establish, upon notice to the Buyer, the necessary date range(s) for shipments hereunder, which
                       shall be deemed to be the Accepted Date Range(s).

                (4)   No stipulation as to time of delivery, whether as to the Accepted Date Range established
                      p ursuant to Article 7(f)(2) or any other period specified in the Special Terms, shall form part
                      of the description of the Product deliverable hereunder. For the avoidance of doubt, except
                      as set fo11h in this A1ticle 7(t)(4), any breach of such a provision would not enable the Buyer
                      to reject, or Seller to refuse to deliver, the cargo of Product. Notwithstanding the
                      immediately preceding sentence, and except in cases of Force Majeure, as defined in Article
                      9: (i) Buyer may cancel delivery of Product for the Seller's failure to deliver i f the B uyer's
                      vessel has tendered NOR and is awaiting delivery of Product and the Seller fails to deliver
                      the cargo within ten ( 1 0) days after the end of the Accepted Date Range or ten ( 1 0) days after
                      the vessel has tendered NOR, whichever is later; and (ii) Seller may cancel delivery of
                      Product if Buyer's vessel fails to tender NOR within ten days after the end of the Accepted
                      Date Range. Any cancellation permitted by this Alticle 7(t)(4) will only be valid if the
                      cancelling Pa1ty provides written notice of cancellation to the other Patty. Any Party that
                      properly exercises its right of cancellation under this Article 7(±)(4) may do so without
                      prejudice to any other right or remedy that it may assert against the non-performing Party.

                (5)    In the event of any delay of any kind or from any cause whatsoever and provided always that
                       the vessel is eventually loaded, any rights of the Buyer against the Seller, however the same
                       may arise and whether or not arising under this Contract, shall be limited to any claim for the
                       payment of demurrage as specified in Alticle 8.

(g)   Not later than ten ( 1 0) days prior to the first day of each Accepted Date Range, the Buyer shall ( 1 ) notifY the
      Seller of the expected date of arrival of the vessel scheduled to receive the Product, and (2) provide written
      instructions regarding the making up and disposition of Bills of Lading and naming the destination ports of
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      discharge, which, if reasonable, shall be accepted by the Seller (subject to the te1ms of any relevant letter of
      credit). The Buyer shall notify the Seller of the name of any vessel previously advised as a TBN as soon as
      possible but in no event later than: (i) five   (5)   days before the stat1 of the Accepted Date Range, or (ii) the last
      day for the naming of a vessel under Terminal Procedures, whichever is earlier.             The Buyer may thereafter
      substitute another vessel of similar class, type, size, capacity and position, provided all other provisions hereof
      are complied with and fmther provided that the substitution when advised is permitted under Tetminal
      Procedures.


(h)   Vessel shall vacate betth as soon as loading is completed, subject to considerations of safety. Any direct loss
      or damage incurred by the Seller as a result of vessel's failure to vacate berth promptly, including such as
      may be incurred due to resulting delay in docking the next vessel awaiting tum to load or discharge at such
      berth, shall be paid by the Buyer to the Seller.


Article 8- Arrival, Laytime and Demurrage


(a)   VESSEL ARRIVAL NOTICES
      The Buyer or the vessel's master or vessel's agent shall notifY the Seller and the terminal operator at the
      Loading Pmt of the expected hour of arrival of the nominated vessel approximately seventy-two (72), forty­
      eight (48) and twenty-four (24) hours before arrival.


(b)   NOTICE OF READINESS
      Upon arrival at customary anchorage or waiting p lace, vessel's master or vessel's agent shall give the Seller
      or its representative notice of readiness ("NOR") by letter, electronic mail, telex, facsimile, radio, or
      telephone (if radio or telephone, subsequently confinned promptly i n writing) that vessel is in all respects
      ready to load cargo .


(c)   COMMENCEMENT OF LAYTIME OR DEMURRAGE
      If vessel arrives during the Accepted Date Range, l aytime or time on demurrage shall commence upon arrival
      in betth or when six    (6) hours have expired following the tendering of NOR, whichever occurs first. Arrival
      in be1th shall mean the completion of mooring of vessel when loading at a sea tenninal, vessel being a l l fast
      when loading alongside a berth, or vessel being all fast alongside the first loading barge, lighter or other
      vessel. If the vessel arrives before the first day of the Accepted Date Range and tenders NOR before said
      date, Iaytime or time on demurrage shall commence at 0600 hours local time on the first day of the Accepted
      Date Range or upon arrival in be1th, whichever occurs first.        In all other cases, laytime or time on demurrage
      shall commence upon arrival in betth.


(d)   DURATION
      Laytime or, if vessel is on demurrage, time on demurrage, shall continue until all cargo hoses have been
      completely disconnected upon the final termination of the loading operation. Disconnection of all cargo
      hoses shall be promptly effected. If vessel is delayed in excess of two (2) hours after such disconnection of
      cargo hoses solely for the Seller's purpose, laytime or, if vessel i s on demurrage, time on demurrage shall
      resume upon the expiration of said two (2) hour period and shall continue from that point until the
      lermination of such delay.


(e)   ALLOWED LAYTIME
      The Seller shall be allowed thitty-six   (36) hours as laytime within which to complete loading Product onto
      the Buyer's vessel.


(f)   LA YTIME AND DEMURRAGE EXCLUSIONS
      Time consumed due to any of the following events shall not count as laytime, or if vessel is on demurrage, as
      demurrage:



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               ( 1)    D u e to a labor dispute, strike, g o slow, work t o rule, lockout, stoppage o r restraint of labor
                       involving Master, officers or crew of vessel or tugboats or p ilots;

               (2 )    Due to overflow, breakdown, inefficiency, repairs, or any other conditions whatsoever
                       attributable to vessel, including inability to load the cargo within the time allowed and/or
                       failure to meet vessel warranties stipulated in Article 7;

               (3 )    In ballasting or deballasting, lining up and/or draining of pumps and/or pipelines, cleaning of
                       tanks, pumps, pipelines, bunkering or for any other purposes of the vessel only, unless same
                       is carried out concurrent with loading so that no loss of time is involved;

               (4)     Due to an escape or d ischarge of Product or the threat of an escape or d ischarge of Product
                       on or from vesseL (The phrase "threat of an escape or d ischarge of Product" shall for the
                       purposes of this P aragraph mean a grave and imminent danger of the escape or discharge of
                       Product which, if it occurred, woul d create a serious danger of pollution damage);

                (5)    On an inward passage, including, but not limited to, awaiting daylight, tide, tugs or p ilot, and
                       moving from anchorage or other waiting place, even i f lightering has taken place at the
                       anchorage or other waiting place, until vessel's arrival in berth;

                (6)    Due to pmt authority prohibiting loading, or vessel refusing to load; or

                (7)    By reason of local law or regulations, action or inaction by local authorities (including, but
                       not limited to, Coast Guard, Naval, Customs, Immi gration or Health authorities), with the
                       exception, however, of port closure due to weather and/or sea conditions.

(g)   DEMURRAGE
           ( 1 ) The Seller shall b e liable for demurrage costs for time o n demurrage to the extent that the
                 time period between commencement and termination of laytiine, or if vessel is on demurrage,
                 time on demurrage less any exclusions, as defined in Article 8(f), exceeds the allowed
                 laytime provided for in thi s Contract. Except as provided in Atticle 8(h), the Seller's liability
                 for demurrage shall be absolute and shall not, in any case, be subject to the provisions of
                 Article 9. The appropriate rate of demutTage to be paid by the Seller shall be:

                         (i)      the rate, i f any, specified in the Special Terms; or i f such rate is not specified

                         (ii)     the applicable charter party rate.

                (2 )   Absent such rates, the demurrage rate shall be determined by using the Worldscale base
                       demurrage rate for a vessel of the same type and carrying capacity, carrying the same
                       category of Product, adj usted by applying as a percentage, the Worldscale AFRA Monthly
                       Assessment rate for the month of loading as determined by the Bill of Lading date. Should
                       the Buyer present a performing vessel with a capacity significantly greater than the cargo
                       tonnage agreed demurrage wil l be calculated at the Worldscale rate corresponding to the said
                       tonnage agreed plus five percent (+5%) constant for fuels. Such base demurrage rate shall be
                       adjusted by applying as a percentage, the Worldscale AFRA Monthly Assessment rate for the
                       month of loading as determined by the Bill of Lading date.

(h)   HALF RATE DEMURRAGE
      If dcmunage is incurred and the vessel has been delayed in betthing or loading (hereinafter in this Paragraph
      called "Delay") due to: weather and/or sea conditions; tire; explosion; strike, picketing, lockout, s lowdown,
      stoppage or restraint of labor; or breakdown of machinety or equipment, in or about the facilities of the Loading
      Tetminal, (hereinafter separately and jointly called "Listed Conditions"), be the Delay prior to or after the
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      expiration of laytime, that span of time on demurrage equal to the period or periods of Delay as described shall
      be paid at half of the demunage rate. If, during a period of Delay, Listed Conditions co-existed, along with any
      other conditions that would otherwise count as laytime or if the vessel is on demurrage, as demurrage, the L isted
      Conditions shal l conclusively be deemed to be sole cause of the Delay, either if they caused the Delay
      independently of the other conditions or could have caused the Delay if the other conditions had not so co­
      existed. Weather and/or sea conditions shall include, but not be l im ite d to, lightning, restricted visibility (the
      term "restricted visibility" shall mean any condition in which visibility is restricted by fog, mist, falling snow,
      heavy rainstorms, sandstorms and any other similar causes), storm, wind, waves and/or swells.

(i)   VESSEL SHIFTING
      Seller shall have the right to shift Buyer's vessel fi·om one b erth to another, subject to Seller's payment of
      all towage and pilotage c harge s for s h i fting to next berth, cha rge s for ru nnin g l ines on arrival at and leaving
      that berth, wharfage and dockage c harges at that betth, additional agency charges and expenses, Customs
      overtime and fees , and any other extra pott charges or port expenses incurred by reason of using more than
      one betth, except as h ere i nafter p ro vi de d , and time consumed on account of shifti ng shall count as used
      l aytime (or t i me on demurrage). If i t i s necessary to shift the vessel offthe berth because of breakdown of
      m ac hinery or other de fici enc y of the vessel or its crew, the resulting expenses shal l be for the vessel's
      account, the time consumed shall not count as used laytime (or time on demurrage), and the vessel shall
      lose its regular turn in betth. When the vessel is ready to continue loading, it shall so advise and await its
      turn to load in accordance with Terminal Procedures, and laytime (or time on demurrage) shall
      recommence when the vessel is all fas t .

(j)   DEMURRAGE CLAIMS
      Any demurrage claim under this Contract is conditional on notice being given to the Seller in writi ng, with all
      supporting documentation (including but not limited to the notice of readiness, statement of facts, relevant
      notes of protest and chatter patty recapitulation telex), within ninety (90) days after completion of loading,
      failing which the Buyer is deemed to have waived the claim. Demurrage for which the Seller is liable shall be
      paid promptly.

(k)   DEM URRAGE LIABILITY LIM ITATION
      Notwithstanding the provisions of Articles 8(g) and 8(h) of this Agreement, the Seller's liability for
      demurrage under this Agreement will not exceed the amount of demurrage actuaHy paid to the vessel.

A•·ticle 9 - Fot•ce Majeure and Exceptions


(a)   Force Majeure is an occurrence beyond the control and without the fault or negligence of the Party atTected and
      which said Patty is unable to prevent or provide against by the exercise of reasonable diligence. Force Mqjeure
      includes, but is not limited to compliance with legislation, acts, rules, orders, regulations, directives or requests
      of any federal, state, local, or military authority, or by any authority created by or pursuant to government act
      (such as the International Energy Agency), or by any person purporting to act therefor, or insurrections, wars,
      rebeHions, riots, embargoes, strikes or other labor difficulties, fires, explosions, floods, or actions of the
      e lements, acts of God, d i sruption or breakdown of production, loading or transportation facilities (including any
      failure or delay by a third party carrier to accept Product or effectuate delivety). Except tor the obligation to pay
      demurrage at half the demurrage rate in accordance with Atticle 8(h), as applicable, neither Party shall be liable
      for loss or damage, including indirect or consequential damages, or for prospective loss of profits, breach, delay
      or non-performance to the exten( that such loss, damage, fai lure or delay is caused by an event of Force
      Mqjeure.

(b)   If, for any reason beyond the control of the Seller, the Seller is unable to obtain sufficient quantities of Product
      at the Loading Te1minal, and, as a result, the Seller is unable to fulfill its obligations, the Sel ler shall be entitled
      to allocate its available supplies of Product at the Loading Terminal in its absolute discretion.


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(c)   The Seller shall not be obliged to purchase additional supplies of Product or to make up deliveries omitted
      during the period of disruption, nor shall the term of this Contract be extended due to the causes set fm1h above.


(d)   A P arty affected by events described in Article 9(a) or 9(b) shall give prompt notice to the other Pm1y,
      describing in sufficient detail the events and the estimated scope of disability. In the event of a material delay
      caused by events in A11icle 9(a), either Party shall be entitled to tetminate this Contract with regard to deliveries
      of Product which have not yet been loaded by giving the other Party notice of termination within two days o f
      receipt of notice o f delay. I n the event o f a n allocation of Product described in Article 9(b), B uyer shall b e
      entitled t o cancel the cargo o f Product by giving the Seller notice of cancellation within two days of receipt of
      the notice of allocation.


(e)   Notwithstanding the foregoing, any Party, which i s a government oil company or other agency or entity
      controlled by the government, shall not be entitled to invoke any action, order, decree, rule, regulation, or
      directive of such government as Force Majeure in order to relieve itself of any obligation under this Contract.


(f)   Nothing contained i n this Article 9 shall: (i) relieve the Buyer of its obligations to pay tor Product delivered by
      the Seller, or (ii) affect the rights and l i abilities of the Buyer and the Seller with respect to laythne and
      demurrage described in Article 8.


A t·ticle 1 0 - Gover·ning Law and Submission to Jurisdiction


(a)   The Contract shall be construed and interpreted under the Jaws of the State ofNew York without regard to its
      conflicts of law principles.


(b)   Except as otherwise provided herein, each of the Pm1ies hereby irrevocably submits to the exclusive jurisdiction
      of the United States District Court for the Southern District of New York or, if such cow1 does not have
      jurisdiction or shall not accept jurisdiction, to any court of general jurisdiction in and for the County of New
      York in the State o f New York for the resolution and determination of any d ispute between the Parties relating
      to the construction, meaning or effect of this Contract, or the rights and liabilities of the Pm1ies hereunder, or
      any matter arising therefrom or connected therewith. Each of the Patties hereby irrevocably waives actual
      personal service of process in connection with any action initiated in any cmnt to whose jurisdiction the Parties
      have by contract submitted, and agrees to accept, in lieu of such personal service, written notice of such action
      given by hand delivery or by cettitied or registered pre-paid mail (provided that notice shall also be given by
      telex, facsimile, or other written communication that such mailed notice has been sent, no later than the second
      day fol l owing the date of mailing) to its address as set out in the Special Terms or otherwise notified pursuant to
      this Contract, or to its principal place of business, and addressed to the Party in question, provided that either
      Party may cause service of process to be et1ected in any other lawful manner rather than by use of the aforesaid
      procedure.


(c)   Neither Party shall be prec l llded fi·om pursuing arrest, attachment and/or conservatmy, interlocutory or
      interim actions in any com1 or in any j urisdiction.


(d)   The United Nations Convention on Contracts tor the International Sale of Goods 1 980 shall not apply to this
      Contract.


(e)   The latest edition of Incoterms shall apply to this Contract. In the event of any conflict between the latest
      edition of lncotetms and this Contract, the terms of this Contract shall prevail.


(f)   Each Pat1y hereto warrants that it has entered into this Contract i n a commercial capacity. To the extent the
      B uyer or Seller has or may acquire any immunity from j urisdiction for themselves or their property in any
      court/arbitration proceeding relating to this Contract, the B uyer or Seller irrevocably waives such immunity
      with respect to its obligations under this Contract and agrees that it shall not raise the deftmse of sovereign
      immunity. This waiver and agreement are intended to be effective in any jurisdiction in which any such
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       comt/arbitration proceeding under this Contract may be commenced. This waiver and agreement is not
       effective with respect to any person other than the Parties and their successors and permitted assignees acting
       under the specific circumstances contemplated in this Article.

(g)    Should any provisions hereof be finally determined to be inconsistent with or contrary to applicable law, such
       provisions shall be deemed amended or omitted to conform therewith without affecting any other provisions or
       the validity of this Contract.

A•·ticle 1 1   -   New or Changed Regulations


The Seller and the Buyer enter this Contract relying upon (I) the Jaws and regulations in effect on the effective date
of this Contract, and (2) ab•reements, arrangements and concessions entered into with the government, agencies or
governmental instrumentalities in effect on such date (collectively referred to as "Regulations"). If at any time during
the term of this Contract, any Regulations are changed and the change has a material adverse economic effect on the
Seller or the Buyer under this Contract and such change is not addressed by any other provision of this Contract, then
either Pmty at its option may provide written notice to the other Patty of adjusted Contract terms to reflect the
change(s), l isting the reason(s) for such change{s). If the Parties fail to agree to new terms within fifteen ( 1 5) days of
the notice, either Party may terminate the Contract without liability. Any deliveries made during the fifteen ( 1 5) day
period shall be at the originally agreed terms and price adjusted to include the increase under this Article.

Article 12 - Terminntion


Seller or Buyer shall have the right to termi nate this Contract in the event of a material breach (i ncludin g             ,



without limitation, anticipatory breach) by the other Patty of any of its terms, but without prej udice to the rights
of either patty accrued under this Contract (including without limitation the right of e ither Party to da mages
arising from such breach or prior breaches hereof). Seller shall have the right to terminate this Contract if the
Buyer fails to make payments as they fal l due under the terms of the Contract .


Article 13 - Limitation of Liability


NEITHER PARTY SHALL BE LIABLE IN CONTRACT, TORT OR OTHERWISE, FOR LOSS OF
PROSPECTIVE PROFITS OR FOR SPECIAL, INDIRECT OR C ONSEQUENTIAL DAMAGES IN
RELATION TO PERFORMANCE OR NON-PERFORMANCE UNDER TIDS CONTRACT.


Article 1 4 - Waiver


The delay or failure on the part of either Patty to insist, in any one instance or more, upon strict performance of any of
the tenus or conditions of this Contract, or to exercise any right or privilege herein conferred shall not be construed as
a waiver of any such terms, conditions, rights or privileges, but the same shall continue and remain in full force and
effect. All rights and remedies are cumulative.

At·ticle 15 - Assignment


The ExxonMobil Pmty may, upon written notice to the other Party but without its consent, assign all or any p01tion of
it<; rights and benefits hereunder or transfer all or any pmtion of its obligations hereunder to an Affiliate. The Affiliate
receiving such an assignment or transfer shall thereafter be solely liable for the petfonnance of the obligations
hereunder. When requested by the ExxonMobil Party, the other Patty shall promptly execute any and all
documentat ion required by the ExxonMobiJ Party to perfect a novation of the Contract under the applicable law.

Except for the foregoing, th is Contract shall not be assigned in whole or in patt by either Party without the written
consent of the other Party, such consent not to be u nreasonably withheld. Further, unless otherwise provided in


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such consent, the assignor shall be jointly and severally held responsible with the assignee for the full perfonnance
of the assignor's obligations towards the other Patiy.

Article 16 - Amendments


All amendments, modifications or waivers of this Contract shall be effected or become effective only in a writing
signed by the Parties or by an exchange of emails or facsimiles wherein both Parties agree to the amendment,
modification or waiver.

Ar·ticle 1 7 - Entire Agreement


This Contract sets forth the entire understanding and agreement between the Pariies as to matters covered herein
and supersedes any prior understanding, agreement, or statement (written or oral) of intent among the Patiies with
respect to the subject matter hereof.

Article 18 - Third Pa1·ty Rights

This Contract is for the sole benefit of the Parties hereto and their successors and permitted assigns and nothing
herein express or implied shall give or be construed to give to any person, other than the Parties hereto and such
successors atld permitted assigns, any legal or equitable r ights hereunder.

Article 19   w   United States Laws


Notwithstanding any other prov ision in this agreement or any other document, neither this Contract nor any other
document shall constitute an agreement by either Patiy to take any action or refrain from taking any action that is in
conflict with, penalized under, or compliance with which is prohibited by, United States laws or regulations.

At·ticle 20 - Notices


All notices, requests, demands and other communications that are required or may be given under this Contract
shall be in writing and shall be deemed to have been duly given: (a) when received, if personally delivered; (b)
when transmitted, if transmitted by telex, facsimile or electronic mail, subject to the sender's machine receiving the
correct answerback of the addressee or confirmation of uninterrupted transmission by a transmission repoti or the
recipient confirming by telephone to the sender that the recipient has received the message; and (c) upon receipt, if
sent by ce1iified or registered mail, return receipt requested or if sent by a recognized overn ight delivery service;
provided, that a notice given in accordance with this Article but received on a non-working day or after business
hours in the p lace of receipt shall be deemed to be given on the next working day in that place. In each case notice
shall be sent to the exact corresponding address set out in the Special Terms, unless changed by fi.uiher notice given
pursuant to this Article 20. In any case in which a Party is required or permitted to respond to a notice hereunder
within a specified period, such period shall run from the date on which the notice was deemed received as above
provided, and the response shall be considered timely given if deemed given as above provided by the last day of
such period.




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Appendix 1.   CUSTODY TRANSFER DETAILS


Quantity Units, Measurement and Sampling


     I.       Quantity Units to be used are:

              (a)      Total Calculated Volume � Total Calculated Barrels (and/or cubic meters where indicated by
                       local custom) measured at Sixty Degrees Fahrenheit (60 Deg F.) or Barrels (and/or cubic
                       meters where indicated by local custom) at Fifteen Degrees Centigrade ( 1 5 Deg C.) as
                       otherwise defined in API's Manual of Petroleum Measurement Standards (MPMS) Chapter
                       I, with all coiTections for temperature based on ASTM D 1 25 0-80 or equivalent tables; and

              (b)      Weight - Metric tonnes and long tons, with all weights expressed "in air" and "in vacuum" i n
                       accordance with ASTM-IP Petroleum Measurement Tables (IP200 or equivalent).

     2.          Measurement Procedures to detetmine quantity shall be performed subject to Terminal Procedures in
     the fol l owing order of preference:

               (a)     Meter readings, in accordance with A P I MPMS Chapter 5, with meters proved according to
                       API MPMS Chapter 4; or

               (b)     Manual, or Verifiable Automatic, shore tank measurements in accordance with API MPMS
                       Chapter 3; or

               (c)     Vessel Ullage adjusted for the vessel's load p01t experience factor calculated i n accordance
                       with API MPMS Chapter 1 7.

     3.       Sampling Procedures for the determination of quality shall be performed subject to Terminal
     Procedures in the following order of preference:

               (a)     Automatic, Flow-propot1ional, In-line Device in accordance with API MPMS Chapter 8.2; or

               (b)     Weighted, Volumetric Composite of representative samples taken manually from the Seller's
                       or the Seller's supplier's tanks prior to loading in accordance with API MPMS Chapters 8. 1
                       and 1 7; or

               (c)     Weighted, Volumetric Composite of representative samples taken manually from the Buyer's
                       vessel's Tanks, in accordance with API MPMS Chapters 8. 1 and 1 7.

     4.         Sample Retention - The Seller shall arrange for samples obtained in accordance with Clause 3 above,
     to be retained at the Loading Port for at least ninety (90) days from Bill of Lading date of the Product.




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                                                   CERTIFICATE OF ANALYSIS


 REFERENCE:          Buff301                                                                                    REF.#:          RM001 1313·G-3
 l.OCATION:          OTI, Galveston                                                                             FILE:           50-13-00026
 PRODUCT:            Bunker Fuel                                                                                DATE:           1/15/2013
  MOVEMENT:          After Loading                                                                              LAD ID#: TC0026·1


                               Tho following nnatyficat results wan� obtllincd from tomposiled umpl01 drawn from the BuftlOl.




 PRODUCT PRQEERTY                             !}mTHOD                          SPECIFICATION�                                           RESULTS

 Api Gravity @ 60 Deg F                            D-4052                                  Report                                              1 1 .4
 Viscosity @ 50 Deg C                              D-445                                 380 Max                                              372.5
  Density @ 1 5 Deg C, kglm3                      D-4052                                  991 Max                                             989.6
 CCAJ                                           Calculation                               870 Max                                             850.7
 Sulfur, Wt %                                     D-4294                                  3.5 Mnx                                              3.32
 Flash Point, Deg C                                D-93                                    60 Mln                                               89
 Flash Point, Deg F                                D-93                                   140 Mln                                              192
 H2S in Vapor, mglkg                              D-5705                                   l O Max                                             <S
 Hydrogen Sulfide, mgikg                         UOP-163                                 2.00 Max                                              <I
 Acid Number, mg KOH/g                             D-664                                  2.5 Max                                              0,11
 Strong Acid Number, rug KOH/g                     D-664                                   Report                                             < 1).05
  Total   Sediment, Wt %                         D-4870B                                  O.! Max                                              0,03
 Micco Carbon R<:Sidue, Wt %                       D-4530                                l8.0 Max                                              15.9
 Pour Polnt, Deg C                                  D-97                                  30 Max                                                ·9
 Pour Polnt, Deg F                                  D-97                                   86 Max                                               16
  Water Content, Vol %                              D-95                                  0.5 Max                                             < 0.05
  Ash Content, Wt%                                 D-482                                 0.10 Max                                             0.0471


 �
  Vanadium, m!'/kg                                 IP-470                                 350 Max                                              120
  Sodium, mglkg                                    JP-470                                 lOOMax                                                11
  Ahunlnum, m!'/kg                                 IP-470                           AL+ Si 60 Max                                               ll
  Silicon, mglkg                                   lP-470                            AL+ Si 60 Mox                                              15
  Calcium, mg/kg                                   IP-470                                  30 Max                                                8
  Zinc, rnglkg                                     lP-470                                  15 Max
  Phosphorus, m!'/kg                               IP-501                                  l5 Max                                              <1


                                  RESULTS ARE VALID                  "AS   AT" DATE AND WCAJION LISTED
                            Samples are retained for a period of 30 days unless otherwise requested in writing




  Chris Miller
  Laboratory Manager
